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                                                                                      E-FILED
                                                      Friday, 03 September, 2021 03:36:02 PM
                                                                  Clerk, U.S. District Court, ILCD

                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                        SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
v.                                  )       Case No. 21-cr-30009
                                    )
JOSH BEECHLER,                      )
                                    )
            Defendant.              )

     UNOPPOSED MOTION TO CONTINUE PRETRIAL AND TRIAL

      Now comes the Defendant, Josh Beechler, by his attorney, D. Peter

Wise of Gates, Wise, Schlosser & Goebel and moves this Honorable Court

to continue the Pretrial and Trial in this case and as grounds for said

motion states as follows:

      1.    A Pretrial Conference in this case is set for Thursday, September

16, 2021, at 9:00 a.m. and a Jury Trial is set for Tuesday, October 5, 2021,

at 9:00 a.m.

      2     Recently, counsel for Josh Beechler submitted documents to the

United States Attorney’s Office which will require review by the United

States Attorney's Office and further meetings with the United States

Attorney’s Office.

      3.    Josh Beechler and his counsel seek additional time to allow the

United States Attorney's Office to review the documents provided and to

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schedule further meetings with the United States Attorney's Office.

      4.    Counsel for Josh Beechler will be out of the state on the date of

the scheduled pretrial.

      5.    Counsel has conferred with Assistant United States Attorney

Tanner Jacobs and Mr. Jacobs has no objection to Josh Beechler's motion

to continue the pretrial and trial.

      6.    Counsel asserts that a 45 day continuance will allow the parties

adequate time to review the documents provided and move this case

towards a resolution.

      7.    The ends of justice served by granting the continuance outweigh

the best interest of the Defendant and the public in a speedy trial. 18

U.S.C. § 3161 (h)(7)(A).

      Wherefore, the Defendant, Josh Beechler, prays this Honorable Court

enter an Order continuing the pretrial and trial in the above captioned case.

                                      Respectfully submitted,
                                      Josh Beechler - Defendant

                                      s/ D. Peter Wise

D. Peter Wise, Bar Number: 6187876
Gates, Wise, Schlosser & Goebel
1231 South Eighth Street
Springfield, IL. 62703
Telephone: 217/522-9010
Fax: 217/522-9020
E-Mail: peter@gwspc.com


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                      CERTIFICATE OF SERVICE

I hereby certify that on September 3, 2021, I electronically filed the
foregoing with the Clerk of the court using the CM/ECF system which will
send notification of such filing to the following:

Tanner Jacobs
Assistant United States Attorney
318 South Sixth Street
Springfield, IL 62701
Tanner.jacobs@usdoj.gov

and I hereby certify that I have mailed by United States Postal Service the
document to the following non CM/ECF participants:




s/ D. Peter Wise
D. Peter Wise, Bar Number: 6187876
Gates, Wise, Schlosser & Goebel
1231 South Eighth Street
Springfield, IL. 62703
Telephone: 217/522-9010
Fax: 217/522-9020
E-Mail: peter@gwspc.com




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